Case 2:21-cv-07476-MCS-JPR Document 1-1 Filed 09/17/21 Page 1 of 33 Page ID #:10




                   EXHIBIT A
    Case 2:21-cv-07476-MCS-JPR                Document 1-1 Filed 09/17/21 Page 2 of 33 Page ID #:11
               *EXCLUSIVE* Cate Blanchett shows some leg on the set of "Dont Look Up" - set number BGUS_2060385 - 4 images




                            Library buildings are closed to the public until further notice, but the
                                       U.S. Copyright Office Catalog is available. More.




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* Cate Blanchett shows some leg on the set of Don't Look
 Search Results: Displaying 1 of 1 entries




                  *EXCLUSIVE* Cate Blanchett shows some leg on the set of "Don't Look Up" -...

               Type of Work: Visual Material
 Registration Number / Date: VA0002247691 / 2021-04-15
            Application Title: *EXCLUSIVE* Cate Blanchett shows some leg on the set of "Don’t Look Up" - set
                               number BGUS_2060385 - 4 images
                        Title: *EXCLUSIVE* Cate Blanchett shows some leg on the set of "Don’t Look Up" - set
                               number BGUS_2060385 - 4 images. [Group registration of published photographs. 4
                               photographs. 2021-01-19 to 2021-01-19]
                  Description: 4 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2021
     Publication Date Range: 2021-01-19 to 2021-01-19
  Nation of First Publication: United States
  Authorship on Application: Ryan Miner; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in January 2021 (4 photographs): 30082250, 30082249, 30082248, 30082247
                      Names: Miner, Ryan
                               BackGrid USA, Inc.




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2021-04-19 09:00:30                                                                                             Page 1 of 2
   Case 2:21-cv-07476-MCS-JPR                Document 1-1 Filed 09/17/21 Page 3 of 33 Page ID #:12
              *EXCLUSIVE* Cate Blanchett shows some leg on the set of "Dont Look Up" - set number BGUS_2060385 - 4 images

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2021-04-19 09:00:30                                                                                            Page 2 of 2
    Case 2:21-cv-07476-MCS-JPR Document 1-1 Filed 09/17/21 Page 4 of 33 Page ID #:13
    *EXCLUSIVE* Emma Watson, Florence Pugh, Saoirse Ronan and Eliza Scanlen get into character for "Little Women" - set number BGUS_1394112 - 20 images




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title =
 *EXCLUSIVE* Emma Watson, Florence Pugh, Saoirse Ronan and Eliza Scanlen get
 Search Results: Displaying 1 of 1 entries




                   *EXCLUSIVE* Emma Watson, Florence Pugh, Saoirse Ronan and Eliza Scanlen get...

               Type of Work: Visual Material
 Registration Number / Date: VA0002136865 / 2019-02-01
            Application Title: *EXCLUSIVE* Emma Watson, Florence Pugh, Saoirse Ronan and Eliza Scanlen get into
                               character for "Little Women" - set number BGUS_1394112 - 20 images
                        Title: *EXCLUSIVE* Emma Watson, Florence Pugh, Saoirse Ronan and Eliza Scanlen get into
                               character for "Little Women" - set number BGUS_1394112 - 20 images. [Group
                               registration of published photographs. 20 photographs. 2018-11-05 to 2018-11-05]
                  Description: 20 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-11-05 to 2018-11-05
  Nation of First Publication: United States
  Authorship on Application: Ryan Miner; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in November 2018 (20 photographs): 17252179, 17252180, 17252181,
                               17252182, 17252183, 17252184, 17252185, 17252186, 17252187, 17252188, 17252189,
                               17252190, 17252191, 17252192, 17252193, 17252194, 17252195, 17252196, 17252332,
                               17252333
                      Names: Miner, Ryan
                               BackGrid USA, Inc.




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2019-02-26 11:11:05                                                                                                                        Page 1 of 2
   Case 2:21-cv-07476-MCS-JPR Document 1-1 Filed 09/17/21 Page 5 of 33 Page ID #:14
   *EXCLUSIVE* Emma Watson, Florence Pugh, Saoirse Ronan and Eliza Scanlen get into character for "Little Women" - set number BGUS_1394112 - 20 images
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2019-02-26 11:11:05                                                                                                                       Page 2 of 2
    Case 2:21-cv-07476-MCS-JPR                     Document 1-1 Filed 09/17/21 Page 6 of 33 Page ID #:15
             Samuel L. Jackson is spotted with the new and original Shaft while filming in NYC - set number BGUS_1146233 - 14 images




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = Samuel L. Jackson is spotted with the new and original 'Shaft' while filming in
 Search Results: Displaying 1 of 1 entries




                           Samuel L. Jackson is spotted with the new and original 'Shaft' while...

               Type of Work: Visual Material
 Registration Number / Date: VA0002103066 / 2018-05-16
            Application Title: Samuel L. Jackson is spotted with the new and original ’Shaft’ while filming in NYC - set
                               number BGUS_1146233 - 14 images
                        Title: Samuel L. Jackson is spotted with the new and original ’Shaft’ while filming in NYC - set
                               number BGUS_1146233 - 14 images. [Group registration of published photographs. 14
                               photographs. 2018-02-17 to 2018-02-17]
                  Description: 14 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-02-17 to 2018-02-17
  Nation of First Publication: United States
  Authorship on Application: Luis Guerra Jr.; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in February 2018 (14 photographs): 10965454, 10965455, 10965456, 10965457,
                               10965458, 10965459, 10965460, 10965461, 10965462, 10965463, 10965464, 10965465,
                               10965466, 10965467
                      Names: Guerra Jr., Luis
                               BackGrid USA, Inc.




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2018-05-20 09:02:01                                                                                                      Page 1 of 2
   Case 2:21-cv-07476-MCS-JPR                     Document 1-1 Filed 09/17/21 Page 7 of 33 Page ID #:16
            Samuel L. Jackson is spotted with the new and original Shaft while filming in NYC - set number BGUS_1146233 - 14 images
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2018-05-20 09:02:01                                                                                                     Page 2 of 2
     Case 2:21-cv-07476-MCS-JPR Document 1-1 Filed 09/17/21 Page 8 of 33 Page ID #:17
*EXCLUSIVE* Will Smith and Martin Lawrence are spotted shooting "Bad Boys followup 24 years after first hit film was released - set number BGUS_1456765 - 27 images




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                                 Staff are investigating the problem. We apologize for any inconvenience
                                                                to our users.




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* Will Smith and Martin Lawrence are spotted shooting Bad Boys'
 Search Results: Displaying 1 of 1 entries




                      *EXCLUSIVE* Will Smith and Martin Lawrence are spotted shooting "Bad Boys''...

               Type of Work: Visual Material
 Registration Number / Date: VA0002149125 / 2019-04-12
            Application Title: *EXCLUSIVE* Will Smith and Martin Lawrence are spotted shooting "Bad Boys’’
                               followup 24 years after first hit film was released - set number BGUS_1456765 - 27 images
                        Title: *EXCLUSIVE* Will Smith and Martin Lawrence are spotted shooting "Bad Boys’’
                               followup 24 years after first hit film was released - set number BGUS_1456765 - 27
                               images. [Group registration of published photographs. 27 photographs. 2019-01-15 to
                               2019-01-15]
                  Description: 27 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2019
     Publication Date Range: 2019-01-15 to 2019-01-15
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in January 2019 (27 photographs): 18420631, 18420632, 18420633, 18420634,
                               18420635, 18420636, 18420637, 18420638, 18420639, 18420641, 18420642, 18420643,
                               18420644, 18420645, 18420646, 18420647, 18420648, 18420649, 18420650, 18420651,
                               18420652, 18420653, 18420654, 18420655, 18420656, 18420657, 18420658
                      Names: Heim, August
                               BackGrid USA, Inc.




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2019-05-06 09:00:21                                                                                                                              Page 1 of 2
     Case 2:21-cv-07476-MCS-JPR Document 1-1 Filed 09/17/21 Page 9 of 33 Page ID #:18
*EXCLUSIVE* Will Smith and Martin Lawrence are spotted shooting "Bad Boys followup 24 years after first hit film was released - set number BGUS_1456765 - 27 images

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2019-05-06 09:00:21                                                                                                                              Page 2 of 2
   Case*EXCLUSIVE*
         2:21-cv-07476-MCS-JPR                      Document 1-1 Filed 09/17/21 Page 10 of 33 Page ID #:19
                   First Look: Sebastian Stan begins filming The Falcon And The Winter Soldier in Atlanta! - set number BGUS_1786610 - 28 images




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                                           U.S. Copyright Office Catalog is available. More.




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 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* First Look: Sebastian Stan begins filming 'The Falcon And The
 Search Results: Displaying 1 of 1 entries




                     *EXCLUSIVE* First Look: Sebastian Stan begins filming 'The Falcon And The...

               Type of Work: Visual Material
 Registration Number / Date: VA0002197921 / 2020-02-11
            Application Title: *EXCLUSIVE* First Look: Sebastian Stan begins filming ’The Falcon And The Winter
                               Soldier’ in Atlanta! - set number BGUS_1786610 - 28 images
                        Title: *EXCLUSIVE* First Look: Sebastian Stan begins filming ’The Falcon And The Winter
                               Soldier’ in Atlanta! - set number BGUS_1786610 - 28 images. [Group registration of
                               published photographs. 28 photographs. 2019-11-14 to 2019-11-14]
                  Description: 28 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2019
     Publication Date Range: 2019-11-14 to 2019-11-14
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in November 2019 (28 photographs): 24891046, 24891045, 24891044,
                               24891043, 24891042, 24891041, 24891040, 24891039, 24891038, 24891037, 24891036,
                               24891035, 24891034, 24891033, 24891032, 24891031, 24891030, 24891029, 24891028,
                               24891027, 24891026, 24891025, 24891024, 24891023, 24891022, 24891021, 24891020,
                               24891019
                      Names: Heim, August
                               BackGrid USA, Inc.




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2020-04-01 09:00:47                                                                                                                Page 1 of 2
   Case*EXCLUSIVE*
         2:21-cv-07476-MCS-JPR                      Document 1-1 Filed 09/17/21 Page 11 of 33 Page ID #:20
                   First Look: Sebastian Stan begins filming The Falcon And The Winter Soldier in Atlanta! - set number BGUS_1786610 - 28 images

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2020-04-01 09:00:47                                                                                                                Page 2 of 2
             Case 2:21-cv-07476-MCS-JPR Document 1-1 Filed 09/17/21 Page 12 of 33 Page ID #:21
MIUM-EXCLUSIVE* Wyatt Russell is seen as a war hero while filming the next Captain America * WEB EMBARGO UNTIL 1 pm EST on January 22, 2020* - set number BGUS_1843765 - 24 im




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                                                       U.S. Copyright Office Catalog is available. More.




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          Copyright Catalog (1978 to present)
          Search Request: Left Anchored Title = *PREMIUM-
          EXCLUSIVE* Wyatt Russell is seen as a war hero while filming the next
          Search Results: Displaying 1 of 1 entries




                                *PREMIUM-EXCLUSIVE* Wyatt Russell is seen as a war hero while filming the...

                        Type of Work: Visual Material
          Registration Number / Date: VA0002205952 / 2020-04-20
                     Application Title: *PREMIUM-EXCLUSIVE* Wyatt Russell is seen as a war hero while filming the next
                                        Captain America * WEB EMBARGO UNTIL 1 pm EST on January 22, 2020* - set
                                        number BGUS_1843765 - 24 images
                                 Title: *PREMIUM-EXCLUSIVE* Wyatt Russell is seen as a war hero while filming the next
                                        Captain America * WEB EMBARGO UNTIL 1 pm EST on January 22, 2020* - set
                                        number BGUS_1843765 - 24 images. [Group registration of published photographs. 24
                                        photographs. 2020-01-22 to 2020-01-22]
                           Description: 24 photographs : Electronic file (eService)
                 Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                                        Highway, Suite 200, Redondo Beach, CA, 90277, United States.
                     Date of Creation: 2020
              Publication Date Range: 2020-01-22 to 2020-01-22
           Nation of First Publication: United States
           Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
                      Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                                        individual photographs included in this group.
                                        Regarding group registration: A group of published photographs may be registered on one
                                        application with one filing fee only under limited circumstances. ALL of the following are
                                        required: 1. All photographs (a) were created by the same author AND (b) are owned by
                                        the same copyright claimant AND (c) were published in the same calendar year AND 2.
                                        The group contains 750 photographs or less AND 3. A sequentially numbered list of
                                        photographs containing the title, file name and month of publication for each photograph
                                        included in the group must be uploaded along with other required application materials.
                                        The list must be submitted in an approved document format such as .XLS or .PDF. The
                                        file name for the numbered list must contain the title of the group and the Case Number
                                        assigned to the application.
                         Photographs: Published in January 2020 (24 photographs): 26114130, 26114129, 26114128, 26114127,
                                        26114126, 26114125, 26114124, 26114123, 26114122, 26114121, 26114120, 26114119,
                                        26114118, 26114117, 26114116, 26114115, 26114114, 26114113, 26114112, 26114111,
                                        26114110, 26114109, 26114108, 26114107
                               Names: Heim, August
                                        BackGrid USA, Inc.




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        2020-06-04 09:00:41                                                                                                                        Page 1 of 2
             Case 2:21-cv-07476-MCS-JPR Document 1-1 Filed 09/17/21 Page 13 of 33 Page ID #:22
                                      Select
MIUM-EXCLUSIVE* Wyatt Russell is seen as       Download
                                         a war hero            Format
                                                    while filming the next Captain America * WEB EMBARGO UNTIL 1 pm EST on January 22, 2020* - set number BGUS_1843765 - 24 im


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        2020-06-04 09:00:41                                                                                                                        Page 2 of 2
        Case 2:21-cv-07476-MCS-JPR Document 1-1 Filed 09/17/21 Page 14 of 33 Page ID #:23
*EXCLUSIVE* FIRST PHOTOS! Tom Hiddleston and Owen Wilson are seen filming for The Disney+ new anticipated show Loki in Atlanta! - set number BGUS_1886477 - 28 images




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                                                  U.S. Copyright Office Catalog is available. More.




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     Search Request: Left Anchored Title =
     *EXCLUSIVE* FIRST PHOTOS! Tom Hiddleston and Owen Wilson are seen filming for
     Search Results: Displaying 1 of 1 entries




                        *EXCLUSIVE* FIRST PHOTOS! Tom Hiddleston and Owen Wilson are seen filming...

                   Type of Work: Visual Material
     Registration Number / Date: VA0002208426 / 2020-06-01
                Application Title: *EXCLUSIVE* FIRST PHOTOS! Tom Hiddleston and Owen Wilson are seen filming for
                                   The Disney+ new anticipated show ’Loki’ in Atlanta! - set number BGUS_1886477 - 28
                                   images
                            Title: *EXCLUSIVE* FIRST PHOTOS! Tom Hiddleston and Owen Wilson are seen filming for
                                   The Disney+ new anticipated show ’Loki’ in Atlanta! - set number BGUS_1886477 - 28
                                   images. [Group registration of published photographs. 28 photographs. 2020-03-04 to
                                   2020-03-04]
                      Description: 28 photographs : Electronic file (eService)
            Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                                   Highway, Suite 200, Redondo Beach, CA, 90277, United States.
                Date of Creation: 2020
         Publication Date Range: 2020-03-04 to 2020-03-04
      Nation of First Publication: United States
      Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
                 Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                                   individual photographs included in this group.
                                   Regarding group registration: A group of published photographs may be registered on one
                                   application with one filing fee only under limited circumstances. ALL of the following are
                                   required: 1. All photographs (a) were created by the same author AND (b) are owned by
                                   the same copyright claimant AND (c) were published in the same calendar year AND 2.
                                   The group contains 750 photographs or less AND 3. A sequentially numbered list of
                                   photographs containing the title, file name and month of publication for each photograph
                                   included in the group must be uploaded along with other required application materials.
                                   The list must be submitted in an approved document format such as .XLS or .PDF. The
                                   file name for the numbered list must contain the title of the group and the Case Number
                                   assigned to the application.
                    Photographs: Published in March 2020 (28 photographs): 27063661, 27063660, 27063659, 27063658,
                                   27063657, 27063656, 27063655, 27063654, 27063653, 27063652, 27063651, 27063650,
                                   27063649, 27063648, 27063647, 27063646, 27063645, 27063644, 27063643, 27063642,
                                   27063641, 27063640, 27063639, 27063638, 27063637, 27063636, 27063635, 27063634
                          Names: Heim, August
                                   BackGrid USA, Inc.




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   2020-06-26 09:04:31                                                                                                                         Page 1 of 2
        Case 2:21-cv-07476-MCS-JPR Document 1-1 Filed 09/17/21 Page 15 of 33 Page ID #:24
*EXCLUSIVE* FIRST PHOTOS! Tom Select  Download
                              Hiddleston           Format
                                         and Owen Wilson are seen filming for The Disney+ new anticipated show Loki in Atlanta! - set number BGUS_1886477 - 28 images


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   2020-06-26 09:04:31                                                                                                                         Page 2 of 2
   Case  2:21-cv-07476-MCS-JPR Document 1-1 Filed 09/17/21 Page 16 of 33 Page ID #:25
     *EXCLUSIVE* Gal Gadot glides through the air for Wonder Woman 1984 *WEB MUST CALL FOR PRICING* - set number BGUS_1265548 - 20 images




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 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title =
 *EXCLUSIVE* Gal Gadot glides through the air for 'Wonder Woman 1984' *WEB MUST
 Search Results: Displaying 1 of 1 entries




                  *EXCLUSIVE* Gal Gadot glides through the air for 'Wonder Woman 1984' *WEB...

               Type of Work: Visual Material
 Registration Number / Date: VA0002122247 / 2018-09-14
            Application Title: *EXCLUSIVE* Gal Gadot glides through the air for ’Wonder Woman 1984’ *WEB
                               MUST CALL FOR PRICING* - set number BGUS_1265548 - 20 images
                        Title: *EXCLUSIVE* Gal Gadot glides through the air for ’Wonder Woman 1984’ *WEB
                               MUST CALL FOR PRICING* - set number BGUS_1265548 - 20 images. [Group
                               registration of published photographs. 20 photographs. 2018-06-18 to 2018-06-18]
                  Description: 20 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-06-18 to 2018-06-18
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in June 2018 (20 photographs): 13407253, 13407254, 13407255, 13407256,
                               13407257, 13407258, 13407259, 13407260, 13407261, 13407262, 13407263, 13407264,
                               13407265, 13407266, 13407267, 13407268, 13407269, 13407270, 13407271, 13407272
                         Names: Heim, August
                                BackGrid USA, Inc.




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2018-10-17 09:01:06                                                                                                          Page 1 of 2
   Case  2:21-cv-07476-MCS-JPR Document 1-1 Filed 09/17/21 Page 17 of 33 Page ID #:26
     *EXCLUSIVE* Gal Gadot glides through the air for Wonder Woman 1984 *WEB MUST CALL FOR PRICING* - set number BGUS_1265548 - 20 images
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2018-10-17 09:01:06                                                                                                          Page 2 of 2
   Case 2:21-cv-07476-MCS-JPR            Document 1-1 Filed 09/17/21 Page 18 of 33 Page ID #:27
                   *EXCLUSIVE* "Stranger Things" Season 4 begins filming - set number BGUS_2007739 - 16 images




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                                      U.S. Copyright Office Catalog is available. More.




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* Stranger Things Season 4 begins filming
 Search Results: Displaying 1 of 1 entries




                       *EXCLUSIVE* "Stranger Things" Season 4 begins filming - set number...

               Type of Work: Visual Material
 Registration Number / Date: VA0002227783 / 2020-12-08
            Application Title: *EXCLUSIVE* "Stranger Things" Season 4 begins filming - set number BGUS_2007739 -
                               16 images
                        Title: *EXCLUSIVE* "Stranger Things" Season 4 begins filming - set number BGUS_2007739 -
                               16 images. [Group registration of published photographs. 16 photographs. 2020-10-01 to
                               2020-10-01]
                  Description: 16 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2020
     Publication Date Range: 2020-10-01 to 2020-10-01
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in October 2020 (16 photographs): 29186372, 29186371, 29186370, 29186369,
                               29186368, 29186367, 29186366, 29186365, 29186364, 29186363, 29186362, 29186361,
                               29186360, 29186359, 29186358, 29186357
                      Names: Heim, August
                               BackGrid USA, Inc.




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2020-12-16 09:04:43                                                                                         Page 1 of 2
   Case 2:21-cv-07476-MCS-JPR            Document 1-1 Filed 09/17/21 Page 19 of 33 Page ID #:28
                   *EXCLUSIVE* "Stranger Things" Season 4 begins filming - set number BGUS_2007739 - 16 images




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2020-12-16 09:04:43                                                                                   Page 2 of 2
   Case 2:21-cv-07476-MCS-JPR           Document 1-1 Filed 09/17/21 Page 20 of 33 Page ID #:29
                      The cast of Stranger Things films in Atlanta! - set number BGUS_2019254 - 41 images




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 Search Request: Left Anchored Title = cast of 'Stranger Things' films in Atlanta!
 Search Results: Displaying 1 of 1 entries




                    The cast of 'Stranger Things' films in Atlanta! - set number BGUS_2019254 -...

               Type of Work: Visual Material
 Registration Number / Date: VA0002227769 / 2020-12-08
            Application Title: The cast of ’Stranger Things’ films in Atlanta! - set number BGUS_2019254 - 41 images
                        Title: The cast of ’Stranger Things’ films in Atlanta! - set number BGUS_2019254 - 41 images.
                               [Group registration of published photographs. 41 photographs. 2020-10-20 to 2020-10-20]
                  Description: 41 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2020
     Publication Date Range: 2020-10-20 to 2020-10-20
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in October 2020 (41 photographs): 29408238, 29408237, 29408236, 29408235,
                               29408234, 29408233, 29408232, 29408231, 29408230, 29408229, 29408228, 29408227,
                               29408226, 29408225, 29408224, 29408223, 29408222, 29408221, 29408220, 29408219,
                               29408218, 29408217, 29408216, 29408215, 29408214, 29408213, 29408212, 29408211,
                               29408210, 29408209, 29408208, 29408207, 29408206, 29408195, 29408194, 29408193,
                               29408192, 29408191, 29408190, 29408189, 29408188
                       Names: Heim, August
                              BackGrid USA, Inc.




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2020-12-16 09:04:45                                                                                          Page 1 of 2
   Case 2:21-cv-07476-MCS-JPR           Document 1-1 Filed 09/17/21 Page 21 of 33 Page ID #:30
                      The cast of Stranger Things films in Atlanta! - set number BGUS_2019254 - 41 images

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2020-12-16 09:04:45                                                                                   Page 2 of 2
   Case 2:21-cv-07476-MCS-JPR                     Document 1-1 Filed 09/17/21 Page 22 of 33 Page ID #:31
          *EXCLUSIVE* Chris Evans sports his old Captain America costume on the set of Avengers 4 - set number BGUS_1105954 - 42 images




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 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *EXCLUSIVE* Chris Evans sports his old Captain America costume on the set of
 Search Results: Displaying 1 of 1 entries




                    *EXCLUSIVE* Chris Evans sports his old Captain America costume on the set...

               Type of Work: Visual Material
 Registration Number / Date: VA0002098194 / 2018-04-10
            Application Title: *EXCLUSIVE* Chris Evans sports his old Captain America costume on the set of
                               ’Avengers 4’ - set number BGUS_1105954 - 42 images
                        Title: *EXCLUSIVE* Chris Evans sports his old Captain America costume on the set of
                               ’Avengers 4’ - set number BGUS_1105954 - 42 images. [Group registration of published
                               photographs. 42 photographs. 2018-01-10 to 2018-01-10]
                  Description: 42 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast Hwy,
                               Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-01-10 to 2018-01-10
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in January 2018 (42 photographs): 10218626, 10218627, 10218628, 10218629,
                               10218630, 10218667, 10218668, 10218669, 10218670, 10218671, 10218672, 10218673,
                               10218674, 10218675, 10218676, 10218677, 10218678, 10218679, 10218680, 10218681,
                               10218682, 10218683, 10218684, 10218685, 10218686, 10218687, 10218688, 10218689,
                               10218690, 10218691, 10218692, 10218693, 10218694, 10218695, 10218696, 10218697,
                               10218698, 10218699, 10218700, 10218701, 10218702, 10218703
                         Names: Heim, August
                                BackGrid USA, Inc.




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2018-04-17 09:00:44                                                                                                        Page 1 of 2
   Case 2:21-cv-07476-MCS-JPR                     Document 1-1 Filed 09/17/21 Page 23 of 33 Page ID #:32
          *EXCLUSIVE* Chris Evans sports his old Captain America costume on the set of Avengers 4 - set number BGUS_1105954 - 42 images

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2018-04-17 09:00:44                                                                                                        Page 2 of 2
   Case 2:21-cv-07476-MCS-JPR                Document 1-1 Filed 09/17/21 Page 24 of 33 Page ID #:33
             *PREMIUM-EXCLUSIVE* First Photos of Brie Larson suited up as Captain Marvel! - set number BGUS_1120135 - 28 images




 Public Catalog
 Copyright Catalog (1978 to present)
 Search Request: Left Anchored Title = *PREMIUM-EXCLUSIVE* First Photos of Brie Larson suited up as Captain
 Search Results: Displaying 1 of 1 entries




                    *PREMIUM-EXCLUSIVE* First Photos of Brie Larson suited up as Captain...

               Type of Work: Visual Material
 Registration Number / Date: VA0002099945 / 2018-04-24
            Application Title: *PREMIUM-EXCLUSIVE* First Photos of Brie Larson suited up as Captain Marvel! - set
                               number BGUS_1120135 - 28 images
                        Title: *PREMIUM-EXCLUSIVE* First Photos of Brie Larson suited up as Captain Marvel! - set
                               number BGUS_1120135 - 28 images. [Group registration of published photographs. 28
                               photographs. 2018-01-26 to 2018-01-26]
                  Description: 28 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2018
     Publication Date Range: 2018-01-26 to 2018-01-26
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in January 2018 (28 photographs): 10504641, 10504642, 10504643, 10504644,
                               10504645, 10504646, 10504647, 10504648, 10504649, 10504650, 10504651, 10504652,
                               10504653, 10504654, 10504655, 10504656, 10504657, 10504658, 10504659, 10504660,
                               10504661, 10504662, 10504663, 10504664, 10504665, 10504666, 10504667, 10504668
                        Names: Heim, August
                               BackGrid USA, Inc.




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2018-04-26 09:01:22                                                                                                 Page 1 of 2
   Case 2:21-cv-07476-MCS-JPR                Document 1-1 Filed 09/17/21 Page 25 of 33 Page ID #:34
             *PREMIUM-EXCLUSIVE* First Photos of Brie Larson suited up as Captain Marvel! - set number BGUS_1120135 - 28 images
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2018-04-26 09:01:22                                                                                                 Page 2 of 2
    Case 2:21-cv-07476-MCS-JPR Document 1-1 Filed 09/17/21 Page 26 of 33 Page ID #:35
*EXCLUSIVE* Will Smith and Martin Lawrence are spotted shooting "Bad Boys followup 24 years after first hit film was released - set number BGUS_1456765 - 27 images




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                      *EXCLUSIVE* Will Smith and Martin Lawrence are spotted shooting "Bad Boys''...

               Type of Work: Visual Material
 Registration Number / Date: VA0002149125 / 2019-04-12
            Application Title: *EXCLUSIVE* Will Smith and Martin Lawrence are spotted shooting "Bad Boys’’
                               followup 24 years after first hit film was released - set number BGUS_1456765 - 27 images
                        Title: *EXCLUSIVE* Will Smith and Martin Lawrence are spotted shooting "Bad Boys’’
                               followup 24 years after first hit film was released - set number BGUS_1456765 - 27
                               images. [Group registration of published photographs. 27 photographs. 2019-01-15 to
                               2019-01-15]
                  Description: 27 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2019
     Publication Date Range: 2019-01-15 to 2019-01-15
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in January 2019 (27 photographs): 18420631, 18420632, 18420633, 18420634,
                               18420635, 18420636, 18420637, 18420638, 18420639, 18420641, 18420642, 18420643,
                               18420644, 18420645, 18420646, 18420647, 18420648, 18420649, 18420650, 18420651,
                               18420652, 18420653, 18420654, 18420655, 18420656, 18420657, 18420658
                      Names: Heim, August
                               BackGrid USA, Inc.




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2019-05-06 09:00:21                                                                                                                              Page 1 of 2
    Case 2:21-cv-07476-MCS-JPR Document 1-1 Filed 09/17/21 Page 27 of 33 Page ID #:36
*EXCLUSIVE* Will Smith and Martin Lawrence are spotted shooting "Bad Boys followup 24 years after first hit film was released - set number BGUS_1456765 - 27 images

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2019-05-06 09:00:21                                                                                                                              Page 2 of 2
   Case*EXCLUSIVE*
         2:21-cv-07476-MCS-JPR                       Document 1-1 Filed 09/17/21 Page 28 of 33 Page ID #:37
                   Donald Faison, Robin Lively and the Powerpuff Girls filming the new CW series in Atlanta! - set number BGUS_2102533 - 58 images




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 *EXCLUSIVE* Donald Faison, Robin Lively and the 'Powerpuff Girls' filming the
 Search Results: Displaying 1 of 1 entries




                       *EXCLUSIVE* Donald Faison, Robin Lively and the 'Powerpuff Girls' filming...

               Type of Work: Visual Material
 Registration Number / Date: VA0002247692 / 2021-04-15
            Application Title: *EXCLUSIVE* Donald Faison, Robin Lively and the ’Powerpuff Girls’ filming the new
                               CW series in Atlanta! - set number BGUS_2102533 - 58 images
                        Title: *EXCLUSIVE* Donald Faison, Robin Lively and the ’Powerpuff Girls’ filming the new
                               CW series in Atlanta! - set number BGUS_2102533 - 58 images. [Group registration of
                               published photographs. 58 photographs. 2021-04-07 to 2021-04-07]
                  Description: 58 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2021
     Publication Date Range: 2021-04-07 to 2021-04-07
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in April 2021 (58 photographs): 30763200, 30763199, 30763198, 30763197,
                               30763196, 30763195, 30763194, 30763193, 30763192, 30763191, 30763190, 30763189,
                               30763188, 30763187, 30763186, 30763185, 30763184, 30763183, 30763182, 30763181,
                               30763180, 30763179, 30763178, 30763177, 30763176, 30763175, 30763174, 30763173,
                               30763172, 30763171, 30763170, 30763169, 30763168, 30763167, 30763166, 30763165,
                               30763164, 30763163, 30763162, 30763161, 30763160, 30763159, 30763158, 30763157,
                               30763156, 30763155, 30763154, 30763153, 30763152, 30763151, 30763150, 30763149,
                               30763148, 30763147, 30763146, 30763145, 30763144, 30763143
                           Names: Heim, August
                                  BackGrid USA, Inc.




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2021-04-19 09:03:42                                                                                                                  Page 1 of 2
   Case*EXCLUSIVE*
         2:21-cv-07476-MCS-JPR                       Document 1-1 Filed 09/17/21 Page 29 of 33 Page ID #:38
                   Donald Faison, Robin Lively and the Powerpuff Girls filming the new CW series in Atlanta! - set number BGUS_2102533 - 58 images

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2021-04-19 09:03:42                                                                                                                  Page 2 of 2
   Case 2:21-cv-07476-MCS-JPR                   Document 1-1 Filed 09/17/21 Page 30 of 33 Page ID #:39
            *EXCLUSIVE* Hailee Steinfeld and Jeremy Renner have fun on the set of Hawkeye - set number BGUS_2076310 - 62 images




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                      *EXCLUSIVE* Hailee Steinfeld and Jeremy Renner have fun on the set of...

               Type of Work: Visual Material
 Registration Number / Date: VA0002247693 / 2021-04-15
            Application Title: *EXCLUSIVE* Hailee Steinfeld and Jeremy Renner have fun on the set of ’Hawkeye’ - set
                               number BGUS_2076310 - 62 images
                        Title: *EXCLUSIVE* Hailee Steinfeld and Jeremy Renner have fun on the set of ’Hawkeye’ - set
                               number BGUS_2076310 - 62 images. [Group registration of published photographs. 62
                               photographs. 2021-02-20 to 2021-02-20]
                  Description: 62 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2021
     Publication Date Range: 2021-02-20 to 2021-02-20
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in February 2021 (62 photographs): 30341631, 30341630, 30341629, 30341628,
                               30341627, 30341626, 30341625, 30341624, 30341623, 30341622, 30341621, 30341620,
                               30341619, 30341618, 30341617, 30341616, 30341615, 30341614, 30341613, 30341612,
                               30341611, 30341610, 30341609, 30341608, 30341607, 30341606, 30341605, 30341604,
                               30341603, 30341602, 30341601, 30341600, 30341599, 30341598, 30341597, 30341596,
                               30341595, 30341594, 30341593, 30341592, 30341591, 30341590, 30341589, 30341588,
                               30341587, 30341586, 30341585, 30341584, 30341583, 30341582, 30341581, 30341580,
                               30341579, 30341578, 30341577, 30341576, 30341575, 30341574, 30341573, 30341572,
                               30341571, 30341570
                        Names: Heim, August
                               BackGrid USA, Inc.




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2021-04-19 09:03:32                                                                                                 Page 1 of 2
   Case 2:21-cv-07476-MCS-JPR                   Document 1-1 Filed 09/17/21 Page 31 of 33 Page ID #:40
            *EXCLUSIVE* Hailee Steinfeld and Jeremy Renner have fun on the set of Hawkeye - set number BGUS_2076310 - 62 images

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   Case 2:21-cv-07476-MCS-JPR            Document 1-1 Filed 09/17/21 Page 32 of 33 Page ID #:41
                    *EXCLUSIVE* Hailee Steinfeld Takes aim on Hawkeye - set number BGUS_2076790 - 71 images




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                                      U.S. Copyright Office Catalog is available. More.




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 Search Results: Displaying 1 of 1 entries




               *EXCLUSIVE* Hailee Steinfeld Takes aim on Hawkeye - set number BGUS_2076790...

               Type of Work: Visual Material
 Registration Number / Date: VA0002247694 / 2021-04-15
            Application Title: *EXCLUSIVE* Hailee Steinfeld Takes aim on Hawkeye - set number BGUS_2076790 - 71
                               images
                        Title: *EXCLUSIVE* Hailee Steinfeld Takes aim on Hawkeye - set number BGUS_2076790 - 71
                               images. [Group registration of published photographs. 71 photographs. 2021-02-21 to
                               2021-02-21]
                  Description: 71 photographs : Electronic file (eService)
        Copyright Claimant: BackGrid USA, Inc., Transfer: By written agreement. Address: 700 N. Pacific Coast
                               Highway, Suite 200, Redondo Beach, CA, 90277, United States.
            Date of Creation: 2021
     Publication Date Range: 2021-02-21 to 2021-02-21
  Nation of First Publication: United States
  Authorship on Application: August Heim; Domicile: United States. Authorship: photographs.
             Copyright Note: Regarding title information: Deposit contains complete list of titles that correspond to the
                               individual photographs included in this group.
                               Regarding group registration: A group of published photographs may be registered on one
                               application with one filing fee only under limited circumstances. ALL of the following are
                               required: 1. All photographs (a) were created by the same author AND (b) are owned by
                               the same copyright claimant AND (c) were published in the same calendar year AND 2.
                               The group contains 750 photographs or less AND 3. A sequentially numbered list of
                               photographs containing the title, file name and month of publication for each photograph
                               included in the group must be uploaded along with other required application materials.
                               The list must be submitted in an approved document format such as .XLS or .PDF. The
                               file name for the numbered list must contain the title of the group and the Case Number
                               assigned to the application.
                Photographs: Published in February 2021 (71 photographs): 30350769, 30350768, 30350767, 30350766,
                               30350765, 30350764, 30350763, 30350762, 30350761, 30350760, 30350759, 30350758,
                               30350757, 30350756, 30350755, 30350754, 30350753, 30350752, 30350751, 30350750,
                               30350749, 30350748, 30350747, 30350746, 30350745, 30350744, 30350743, 30350600,
                               30350599, 30350598, 30350597, 30350596, 30350595, 30350594, 30350593, 30350592,
                               30350591, 30350590, 30350589, 30350588, 30350587, 30350586, 30350585, 30350584,
                               30350583, 30350582, 30350581, 30350580, 30350579, 30350578, 30350577, 30350576,
                               30350575, 30350574, 30350573, 30350572, 30350571, 30350570, 30350569, 30350568,
                               30350567, 30350566, 30350565, 30350564, 30350563, 30350562, 30350561, 30350560,
                               30350559, 30350558, 30350557
                      Names: Heim, August
                               BackGrid USA, Inc.




2021-04-19 09:03:40                                                                                         Page 1 of 2
   Case 2:21-cv-07476-MCS-JPR            Document 1-1 Filed 09/17/21 Page 33 of 33 Page ID #:42
                    *EXCLUSIVE* Hailee Steinfeld Takes aim on Hawkeye - set number BGUS_2076790 - 71 images
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2021-04-19 09:03:40                                                                                   Page 2 of 2
